Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 1 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 2 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 3 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 4 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 5 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 6 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 7 of 8
Case 1:14-cv-00921-RMC Document 25 Filed 03/27/17 Page 8 of 8
